                               UNITED STATES DISTRICT COURT                                JS-6
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. 2:20-cv-04027-AFM                                             Date: October 21, 2020
Title      Anthony Bouyer v. Realty Income Corporation, et al



Present: The Honorable:       ALEXANDER F. MacKINNON, U.S. Magistrate Judge
                  Ilene Bernal                                             N/A
                  Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiff:                   Attorneys Present for Defendants:
                       N/A                                                 N/A

Proceedings (In Chambers): Order of Dismissal Without Prejudice

        The Court, having been advised by Defendant on July 7, 2020 that this action has been
settled and that a Stipulation of Dismissal would be filed within 60 days (ECF No. 9), and the
parties’ failure to file a Stipulation of Dismissal or respond to the Court’s October 1, 2020 Order
explaining their failure to dismiss this case (ECF No. 14), hereby orders this action dismissed
without prejudice.

       The Court retains jurisdiction for thirty (30) days to vacate this order and to reopen the action
upon showing of good cause that the settlement has not been completed. This order shall not
prejudice any party in this action.

        IT IS SO ORDERED.




                                                                                                    :
                                                                    Initials of Preparer           ib




CV-90 (03/15)                           Civil Minutes – General                               Page 1 of 1
